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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

    PAULETTE A. CHATMAN,

                       Plaintiff,

    v.                                               Case No. 24-CV-02454-SPM

    WILLIAMSON COUNTY, et al.,

                       Defendant.

                           MEMORANDUM AND ORDER

McGLYNN, District Judge:

         This matter is before the Court on Defendants Williamson County Sheriff’s

Office and Bradley Thornton’s Unopposed Motion for Reassignment and Unopposed

Motion for Consolidation Based on Relatedness. (See Doc. 17). This is a personal

injury action arising from a motor vehicle accident that occurred between a police

vehicle driven by Defendant Bradley Thornton and a vehicle in which Plaintiff

Chatman was a passenger. (See Doc. 1). The instant case was filed in federal court on

November 8, 2024 with Chief District Judge Nancy J. Rosenstengel assigned. (See

Docs. 1, 4). The Defendants seek to consolidate this case with another case before this

Court, Thompson v. Thornton, No. 24-CV-02622-SPM (S.D. Ill.), which concerns the

same motor vehicle accident; Plaintiff Jasmine Thompson was the driver of the

vehicle in which Plaintiff Chatman was riding. Plaintiff Thompson initially filed her

case1 in Williamson County Circuit Court on November 7, 2024. See id. (Doc. 1, Ex.



1 Plaintiff Thompson brought suit on her own behalf and on behalf of four minor children riding in the
car with her on the date in question. See No. 24-CV-02622-SPM (S.D. Ill.) (Doc. 1).


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A). Chief Judge Rosenstengel transferred Plaintiff Chatman’s case to this Court. (See

Doc. 18). The Defendants indicate that both Plaintiffs concur with the consolidation

of these cases for discovery purposes. (See Doc. 17, p. 2).

      Pursuant to Federal Rule of Civil Procedure 42(a), a court may consolidate

actions when they “involve a common question of law or fact.” Here, the two cases

involve common questions of both law and fact, as they arise out of the same set of

operative facts, and assert similar, if not identical, causes of action. Therefore, the

Defendants’ Unopposed Motion for Consolidation Based on Relatedness (Doc. 17) is

GRANTED. Accordingly, Case Numbers 24-CV-02454-SPM and 24-CV-02622-SPM

are hereby CONSOLIDATED with Case Number 24-CV-02622-SPM designated as

the lead case. The Clerk of Court is DIRECTED to file a copy of this Order in both

cases; however, all future filings shall be made only in case number 24-CV-02622-

SPM. However, this does not preclude future severance of these cases by the Court

pursuant to Federal Rule of Civil Procedure 21 as necessary for efficiency, fairness,

and judicial economy.

      Plaintiffs are ORDERED to file one (1) amended pleading that identifies all

defendants and sets forth all potential causes of action. Plaintiffs are reminded that

they cannot refer to prior pleadings and that amendments are not accepted

piecemeal. In other words, the amended complaint will become the operative

complaint, superseding all previous pleadings. Plaintiffs shall have twenty-one (21)

days (no later than February 6, 2025) to file said amended complaint. Defendants will

then have twenty-one (21) days to respond to the amended complaint. The Scheduling

Conference scheduled for January 30, 2025 is CANCELLED. This Court will set a


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scheduling conference once the Defendants file their answer. Additionally, in

accordance with Local Rule 15.1(b)(3), the pending Motion to Dismiss (Doc. 15) is

DENIED as moot. The Defendants Unopposed Motion for Reassignment (Doc. 17)

is also DENIED as moot.

IT IS SO ORDERED.

DATED:    January 16, 2025




                                            s/ Stephen P. McGlynn
                                            STEPHEN P. McGLYNN
                                            U.S. District Judge




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